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         JOSE ANTONIO FRANCO-
         GONZALEZ,                                                     t*y'- AZ?L!prc(r,+)
                                                                       PETITIONI FOR \ryRIT OF HABEAS   I
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                                   Petitioner,                         CORPUS
20
                          VS.
21
         JANET NAPOLITANO. Secretarv of
22       Homeland Security; ERÍ_C HOI.DER,
         united States Attorirev General:
23       JOHN T. MORTON. Assistant'
         Secretary, Immigrati'on and Customs
24       P¡rfof .^ep3 ent(ICIE) ; TRE] LIND,
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25       Angeles Field Office,

26                                 Respondents.

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